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Case 2:21-cr-00259-AB Document 45 Filed 07/28/21

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UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA, No. CR 21-259-A5
Plaintiff, EX PARTE APPLICATION TO UNSEAL
DOCUMENTS FILED CONCURRENTLY WITH

Ves THE INDICTMENT AND THE COURT’S
ELECTRONIC DOCKET; DECLARATION OF

ORIGINAL

fod

 

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VLADIMIR GOHMAN, et al., WILSON PARK

Defendants.

 

 

 

The government hereby applies, ex parte, for an order to unseal
all documents filed by the government concurrently with the

indictment in this case, as well as the Court’s electronic docket.

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Case 2:21-cr-00259-AB Document 45 Filed 07/28/21 Page 2 of 4 Page ID #:165

This ex parte application is based upon the attached declaration of

Wilson Park.

Dated: July 27, 2021 Respectfully submitted,

TRACY L. WILKISON
Acting United States Attorney

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Chief, National Security Division

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WILSON

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Case 2:21-cr-00259-AB Document 45 Filed 07/28/21 Page 3 of 4 Page ID #:166

DECLARATION OF WILSON PARK

 

I, Wilson Park, declare as follows:

1. IT am an Assistant United States Attorney (“AUSA”) in the
United States Attorney’s Office for the Central District of
California. I am one of the AUSAs assigned to represent the

government in United States v. Vladimir Gohman, et al., CR 21-259-

 

AB.

Dex On May 26, 2021, the government obtained an under seal
indictment in this case, charging five defendants with:

(1) conspiracy to violate the Arms Export Control Act, | in violation
of 22 U.S.C. § 2778(b) (2), (c) and 22 C.F.R. $§ 121.1, 123.‘

127.1 (a) (4); and (2) conspiracy to commit offenses against the
United States, in violation of 18 U.S.C. § 371. Pursuant to the
sealing order from this Court, “the indictment and any related
documents” were to remain under seal until the government filed a
“Report Commencing Criminal Action” in this case.

3's On June 17, 2021, and on or about June 18, 2021, the
Federal Bureau of Investigation and authorities in Israel arrested
three out of the five charged defendants. Two of the defendants
were arrested in the Northern District of Illinois, a4 one of the
defendants was arrested in Israel. Because these arrests occurred
outside of the Central District of California, a “Report Commencing
Criminal Action” was not filed in this case.

4. In light of the above-described arrests and because there
was no longer a need to keep the indictment under seal, on June 17,
2021, the government filed an application to unseal the indictment,

which this Court granted on the same day. The Court’s unsealing

 

 
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Case 2:21-cr-00259-AB Document 45 Filed 07/28/21 Page 4 of 4 Page ID #:167

order stated as follows: “For good cause shown, IT IS HEREBY ORDERED
THAT the Indictment in this case is unsealed.” |

De Despite this order, the Court’s electronic docket remains
sealed, and the government is unable to access the electronic docket
or electronically file any documents in this case. Consequently,
the government contacted the Clerk of Court’s office for guidance.
The Clerk's office advised the government to submit an additional
unsealing application in order to have the Court’s electronic docket
unsealed.

6. Accordingly, the government requests that ene Court issue
an order unsealing all documents filed by the soveinunent.
concurrently with the indictment in this case, as alt ws the
Court’s electronic docket.

I declare under penalty of perjury that the foregoing is true
and correct to the best of my knowledge and belief. Executed on
July 27, 2021 at Los Angeles, California.

WGP

WILSON PARK

 

 

 
